      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA


STUDENTS FOR FAIR ADMISSIONS, INC.

         v.                                             Case Number: 1:14CV954

UNIVERSITY OF NORTH CAROLINA, et al


                                    NOTICE
                                    ==============

       TAKE NOTICE that a BENCH TRIAL has been SET in the above-referenced case:

       PLACE:                Hiram H. Ward Federal Building
                             251 N. Main Street, Winston-Salem, North Carolina
                             Courtroom No. 1
       DATE & TIME:          November 9, 2020 - 9:30 a.m.
       PROCEEDING:           Bench Trial


______________________________________________________________________________
John S. Brubaker, Clerk

By: /s/ Debbie Blay, Deputy Clerk

Date: April 16, 2020

TO:    ALL COUNSEL OF RECORD




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